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                                 UNITED STATES DISTRICT
                                COURTFOR THE DISTRICT OF
                                       COLUMBIA

 UNITED STATES OF AMERICA                         :
                                                  :
                v.                                :       Case No. 21-cr-444-JEB
                                                  :
 BRIAN MOCK,                                      :
                                             :
                      Defendant.             :




                                      MOTION TO SEAL

       NOW COMES, defendant, Brian Mock requesting this Honorable Court to allow Mr.

Mock to file his motion for reconsideration under seal. Parts of the motion contain materials

subject to a protective order creating an overriding interest in keeping the information

confidential that outweighs the need for public disclosure.




Dated: May 20, 2022                   Respectfully submitted,

                                                 /s/ William L. Shipley
                                                 William L. Shipley, Jr., Esq.
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                                                 Kailua, Hawaii 96734
                                                 Tel: (808) 228-1341
                                                 Email: 808Shipleylaw@gmail.com

                                                 Attorney for Defendant




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                                 CERTIFICATE OF SERVICE

       I, William L. Shipley, hereby certify that on this day, May 20, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.

                                                     /s/ William L. Shipley
                                                     William L. Shipley, Jr., Esq.




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